Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 1 of 13 Page ID #:3608




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   6
     BEATBOX MUSIC PTY, LTD.
   7
                            UNITED STATES DISTRICT COURT
   8
   9                           CENTRAL DISTRICT OF CALIFORNIA
  10
       BEATBOX MUSIC PTY, LTD.,                                   CASE NO: 2:17-cv-6108 MWF (JPRx)
  11                                                              Assigned to the Hon. Michael W.
  12                          Plaintiff,                          Fitzgerald
  13                               v.                             BEATBOX MUSIC PTY, LTD.’S
  14 LABRADOR ENTERTAINMENT, INC.                                 RESPONSE IN OPPOSITION TO
                                                                  THE MOTION FOR JOINDER OF
  15 D/B/A SPIDER CUES MUSIC
                                                                  LABRADOR ENTERTAINMENT,
     LIBRARY, a California corporation;
  16                                                              LLC
     NOEL PALMER WEBB, an individual;
  17 MICHAEL COHEN, an individual;
     LABRADOR ENTERTAINMENT, LLC;
  18
     MCPC HOLDINGS, LLC; WEBB
  19 FAMILY TRUST and DOES 1-20,
     inclusive,
  20
                            Defendants.
  21 MICHAEL COHEN, an individual,                                Hearing Date:            February 22, 2021
                                                                  Time:                    10:00 AM
  22
                              Cross-Complainant,                  Courtroom:               5A
  23
                                   v.
  24
                                                                  Action Filed:      August 17, 2017
     LABRADOR ENTERTAINMENT, INC.
  25                                                              Cross-Claim Filed: November 21, 2017
     D/B/A SPIDER CUES MUSIC
                                                                  Trial Date:        November 30, 2021
  26 LIBRARY, a California Corporation,
  27
                              Cross-Defendant.
  28
                                                            -i-
          BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 2 of 13 Page ID #:3609




   1 LABRADOR ENTERTAINMENT INC.,
     D/B/A SPIDER CUES MUSIC
   2
     LIBRARY, a California Corporation, ET
   3 AL.,
                     Counter-Claimants,
   4
   5                                v.
   6
     BEATBOX MUSIC PTY, LTD.,
   7 MICHAEL COHEN, and individual, and
   8 DOES 1-20, inclusive,
   9                          Counter-Defendants.
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          BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 3 of 13 Page ID #:3610




   1         Plaintiff Beatbox Music Pty, Ltd. (“Beatbox”), by and through its attorneys,
   2 hereby submits its response in opposition to the Motion for Joinder of Labrador
   3 Entertainment, LLC under Federal Rule of Civil Procedure 25(c) (“Motion”) filed by
   4 Defendants Labrador Entertainment, Inc. and Labrador Entertainment, LLC
   5 (collectively, the “Labrador Defendants”). In support thereof, Plaintiff states as
   6 follows:
   7                                           RELEVANT FACTS
   8         Beatbox’s First Amended Complaint, Defendant Michael Cohen’s Crossclaim,
   9 and Defendant Labrador Entertainment, Inc.’s Counterclaim all relate to a composer
  10 agreement dated February 14, 2008, between Labrador Entertainment, Inc. and
  11 Michael Cohen (the “Labrador-Cohen Agreement”), and a music publishing
  12 agreement dated April 1, 2009, between Labrador Entertainment, Inc. and Beatbox
  13 (the “Labrador-Beatbox Agreement”). (See First Amended Complaint (“FAC”) (Dkt.
  14 No. 105) ¶¶ 16, 18, Exs. A, B; Crossclaim (Dkt. No. 38) ¶¶ 9, 17, Exs. A, B;
  15 Counterclaim (Dkt. No. 139) ¶¶ 79, 108, Exs. A, B.)
  16         Beatbox alleges that Labrador Entertainment, Inc. breached its obligations to
  17 Beatbox pursuant to the Labrador-Beatbox Agreement when it provided Beatbox with
  18 a composition that infringed the rights of third parties in violation of Section 16 of the
  19 2009 Agreement. (See FAC ¶¶ 21-3, 29, 45-54.)
  20         Beatbox alleges that Defendant Webb transferred the assets of Labrador
  21 Entertainment, Inc. to Labrador Entertainment, LLC (among other transfers) in an
  22 effort to prevent Plaintiff from satisfying its claims. (See FAC ¶¶ 81-93.)
  23        Labrador Entertainment, LLC was created on October 31, 2016. (FAC ¶ 3.)
  24         Beatbox does not allege that the Labrador-Beatbox Agreement is an “asset” of
  25 Labrador Entertainment, Inc., nor does the Labrador-Beatbox Agreement permit that
  26 Labrador Entertainment, Inc. be entitled to assign the Labrador-Beatbox Agreement
  27 without Beatbox’s express consent. (See generally FAC at Ex. B.) The Labrador-
  28 Beatbox Agreement provides, in pertinent part:
                                                            -1-
          BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 4 of 13 Page ID #:3611




   1            15. This Agreement shall be binding upon parties hereto and their
                respective successors and permitted assigns. No amendment shall be
   2
                made hereto except in writing by all parties hereto[.]
   3            […]
                16. The Publisher hereby represents and warrants and undertakes that:
   4
                (i) The Publisher is free to enter into this Agreement;
   5            (ii) during the term of this Agreement the Publisher not grant any
                rights in the Compositions to any person firm or company other than
   6
                the Sub Publisher for the Territory or enter into any agreement or act
   7            in any way which would derogate from the rights granted to the Sub
                Publisher hereunder;
   8
                (iii) the Publisher is a party to or has entered into good and valid
   9            contracts with the writers and composers of the Compositions and
  10            such contracts enable it to comply with all terms and conditions
                hereof and the Publisher will do all things necessary not to be in
  11            breach of the same during the term hereof.
  12            (iv) the Compositions are original and that none of the Compositions
                infringes any other copyright work or the rights of any third party[.]
  13
       Id.
  14
                                                  APPLICABLE LAW
  15
                California Civil Code § 3439.01 defines an “asset” as “property of a debtor”
  16
       and “claim” as “a right to payment, whether or not the right is reduced to judgment,
  17
       liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
  18
       legal, equitable, secured, or unsecured.” Cal. Civ. Code § 3439.01.
  19
                The Wolters Kluwer Bouvier Law Dictionary Desk Edition defines an “asset”
  20
       as:
  21
                Something of value. An asset is any property that has a value, usually
  22            assessed by its convertability into money or its equivalent. Assets may
  23            be tangible, such as real property, personal property, cash, or anything
                else with a physical existence. Assets also may be intangible, such as
  24            accounts receivable, claims at law, or shares of stock or bonds. The
  25            significance of an asset in law is slightly different from the meaning
                of asset in business and accounting, in which an asset is the future
  26            potential for revenue from a past transaction, and the potential benefit
  27            need not be realized through a legally enforceable means.

  28
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             BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 5 of 13 Page ID #:3612




   1 Stephen Michael Sheppard, The Wolters Kluwer Bouvier Law Dictionary Desk
   2 Edition (2012).
   3          Meanwhile, the term “liability” is defined as:
   4          A responsibility to do something or to make good not doing so.
              Liability is the responsibility that may be enforced under the law for
   5
              ensuring the performance of some duty of action or omission, or for
   6          making good the injury of those harmed or threatened by not doing so.
              Liability is usually spoken of as civil, or private liability, for a
   7
              violation of a contract, the commission of a tort, or the failure of an
   8          equitable duty such as the duty of a trustee. Criminal liability arises
   9          independently of civil liability from conduct in violation of a criminal
              prohibition. Liability in both senses depends upon enforceability, and
  10          if there is no person or entity that may enforce a duty against a person
  11          who fails in it, there is no liability (despite the failure of duty).

  12 Id.
  13          Federal Rule of Civil Procedure 25(c) governs the joinder of a party in an

  14 action where there is a transfer of interest:
  15        (c) Transfer of Interest. If an interest is transferred, the action may be
            continued by or against the original party unless the court, on motion,
  16        orders the transferee to be substituted in the action or joined with the
  17        original party.

  18 Fed. R. Civ. P. 25(c). Rule 25(c) applies only to transfers of interest that occur during
  19 the pendency of litigation. Fitistics v. Unisen, Inc., 2013 U.S. Dist. LEXIS 198341 at
  20 *7 (C.D. Cal. Dec. 18, 2013). An order of joinder “is merely a discretionary
  21 determination by the trial court that the transferee’s presence would facilitate the
  22 conduct of the litigation.” Id. (quoting In re Bernal, 207 F.3d 595, 598 (9th Cir.
  23 2000)). It maintains existing relationships in a lawsuit and permits an action to
  24 continue without interruption after an interest in a lawsuit is transferred and avoids
  25 the initiation of an entirely new lawsuit. Id.
  26          Even when an interest is actually transferred, Rule 25(c) does not mandate

  27 substitution or joinder. In re Bernal, 207 F.3d at 598. Instead, “[a]n order of joinder is
  28 merely a discretionary determination by the trial court that the transferee’s presence
                                                             -3-
           BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 6 of 13 Page ID #:3613




   1 would facilitate the conduct of the litigation.” Id. (internal quotations omitted).
   2 “Substitution or joinder is not mandatory [even] where a transfer of interest has
   3 [actually] occurred.” Sun-Maid Raisin Grow. of Cal. v. California Pack. Corp., 273
   4 F.2d 282, 284 (9th Cir. 1959) (emphasis added). The Ninth Circuit has further noted:
   5         The most significant feature of Rule 25(c) is that it does not require
             that anything be done after an interest has been transferred. The action
   6
             may be continued by or against the original party, and the judgment
   7         will be binding on his successor in interest even though he is not
             named. An order of joinder is merely a discretionary determination by
   8
             the trial court that the transferee’s presence would facilitate the
   9         conduct of the litigation.
  10 In re Bernal, 207 F.3d at 598 (quoting 7C Charles Alan Wright, Arthur R. Miller &
  11 Mary Kay Kane, Federal Practice and Procedure § 1958 (2d Ed. 1986)).
  12         “Under Rule 25(c), ‘[t]he transferee is not joined because its substantive rights
  13 are in question; rather, the transferee is brought into court solely because it has come
  14 to own the property in issue.’” Uniloc USA Inc. v. LG Elecs. U.S.A. Inc. , 2019 U.S.
  15 Dist. LEXIS 26257, 2019 WL 690290, at *1 (N.D. Cal. Feb. 19, 2019) (citing Minn.
  16 Min. & Mfg. Co. v. Eco Chem, Inc., 757 F.2d 1256, 1263 (Fed. Cir. 1985)).
  17 Accordingly, “[t]he merits of the case, and the disposition of the property, are still
  18 determined vis-a-vis the originally named parties.” Id. Thus, Rule 25(c) rule “leaves
  19 the substitution decision to [the trial] court’s sound discretion.” In re Bernal, 207
  20 F.3d at 598.
  21                                                ARGUMENT
  22         Joinder is wholly inappropriate here. The only relevant “interest” Labrador
  23 Entertainment, Inc. holds is the breached Labrador-Beatbox Agreement. However,
  24 despite Labrador Defendants’ argument to the contrary, a breached contract is a
  25 liability and not an asset. Moreover, even if a breached contract were to be considered
  26 an asset, the Labrador-Beatbox Agreement could not have been transferred or
  27 assigned to Labrador Entertainment, LLC without Beatbox’s express consent under
  28 the terms of the Labrador-Beatbox Agreement, which was not granted. (See FAC, Ex.
                                                            -4-
          BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 7 of 13 Page ID #:3614




   1 B, ¶¶ 15, 16(ii)). Moreover, Labrador Entertainment, LLC’s “presence” in this
   2 litigation is pre-existing, and joinder will do nothing to facilitate this matter further.
   3 See Fitistics v. Unisen, Inc., 2013 U.S. Dist. LEXIS 198341 at *7.
   4 I.      Joinder of Labrador Entertainment, LLC as a defendant to Counts I and
             III is inappropriate and a waste of resources, and would not facilitate the
   5
             conduct of this litigation because the breached Labrador-Beatbox
   6         Agreement is neither an asset nor is it assignable.
   7         Labrador Entertainment, LLC is already a defendant in the above-captioned
   8 cause making joinder unnecessary and inappropriate. Without analogizing to any
   9 relevant authority or pointing to any provision in the Labrador-Beatbox Agreement
  10 that would permit the same, the Labrador Defendants conclude that “Labrador
  11 Entertainment, LLC has ‘come to own’ all rights and obligations under the April 1,
  12 2009 music licensing agreement at issue,” and further that “[Labrador Entertainment,
  13 LLC] should be joined as an additional defendant to each of Beatbox’s two
  14 contractual claims.” (Motion at 4.) Notably, the Labrador-Beatbox Agreement does
  15 not permit Labrador, Inc. to assign its rights and/or obligations without Beatbox’s
  16 written consent and a breached contract is not an asset, but a liability.
  17         Counsel for the Labrador Defendants suggests that Beatbox’s omission of
  18 Labrador Entertainment, LLC as a defendant in its breach of contract and express
  19 indemnity causes of action is an oversight on Beatbox’s part. (Motion at 5.) No such
  20 oversight has occurred. Labrador Entertainment, Inc. breached the Labrador-Beatbox
  21 Agreement in many ways, including but not limited to: when it executed the
  22 Labrador-Beatbox Agreement without having authority to grant the rights it purports
  23 to grant; and when it provided infringing compositions to Beatbox. Both of these
  24 breaches occurred years before Labrador Entertainment, LLC was even an entity
  25 which occurred in October 31, 2016. Thus, Beatbox, as Plaintiff, has intentionally
  26 asserted causes of action against the appropriate defendants in a manner that is
  27 plainly not plagued by oversight.
  28
                                                            -5-
          BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 8 of 13 Page ID #:3615




   1         Instead, as noted hereinabove, “Rule 25(c) is not designed to create new
   2 relationships among parties to a suit but is designed to allow the action to continue
   3 unabated when an interest in the lawsuit changes hands.” Fitistics, 2013 U.S. Dist.
   4 LEXIS 198341 at *7 (quoting In re Bernal, 207 F.3d 595, 598 (9th Cir. 2000)
   5 (internal citations omitted)). There is no risk of this lawsuit stalling due to an interest
   6 changing hands in this case. Indeed, one is left to wonder: what is the true purpose of
   7 the Motion? If there is no risk that Labrador Entertainment, Inc.’s assets are beyond
   8 Beatbox’s reach (Motion at 10), and counsel for both parties is the same, such a
   9 motion only serves to increase Beatbox’s legal fees at this late stage of the litigation
  10 (not to mention the Labrador Defendants’), when counsel for the Labrador
  11 Defendants could easily have raised its request much earlier instead of waiting until
  12 Defendant Webb revealed during his deposition that he transferred all the assets of
  13 Labrador Entertainment, Inc. and after significant unsuccessful motion practice
  14 attempting to get out from under Beatbox’s fraudulent conveyance claims.
  15         Indeed, this Court has noted that “[t]he purpose of Rule 25(c) is to ensure that
  16 the conduct of litigation, or a judgment in favor of a plaintiff, are not defeated by a
  17 transfer of interest away from the original defendant.” Aspex Eyewear, Inc. v. Miracle
  18 Optics, Inc., 2009 U.S. Dist. LEXIS 140932 (C.D. Cal. Jul. 14, 2009). Put simply,
  19 Labrador Defendants continue their dilatory tactics and needlessly increase the costs
  20 of litigation by filing the instant Motion.
  21         Lacking any valid basis for their Motion (as judicial efficiency certainly cannot
  22 be reasonably argued here), the Labrador Defendants urge this Court to use its
  23 discretion and join Labrador Entertainment, LLC as Defendants to Beatbox’s Count I
  24 (“Count I,” breach of contract, and Count III (“Count III,” express indemnity).
  25 Authority relied upon by the Labrador Defendants in their Motion is inapposite to the
  26 instant case for reasons set forth below. (Motion at 6-9.)
  27        Hilbrands v. Far East Trading Co., Inc. involved the subrogation of an
  28 employer to the rights of an injured employee to recover against another entity.
                                                            -6-
          BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 9 of 13 Page ID #:3616




   1 Hilbrands v. Far East Trading Co., 509 F.2d 1321, 1322 (9th Cir. 1975). It is
   2 inapplicable to the instant matter in its entirety.
   3         In Sun-Maid Raisin Growers v. Cal. Packing Corp., 273 F.2d 282, 283-34 (9th
   4 Cir. 1959), defendant-appellant sought to dissolve an injunction, contending that the
   5 purpose of the injunction was to protect a trademark and that plaintiff-appellee had
   6 since transferred its interest in said trademark. Sun-Maid, 273 F.2d at 283-34. Just as
   7 Hilbrands does not apply here, neither does Sun-Maid.
   8         Labrador Defendants’ reliance on the cases above undercuts its argument and
   9 should be disregarded by this Court.
  10         Numerous cases applying Rule 25(c) articulate the principle that joinder or
  11 substitution of a party under the Rule does not affect the substantive rights of the
  12 parties or the transferee. See, e.g., Aspex Eyewear, Inc. v. Miracle Optics, Inc., 2009
  13 U.S. Dist. LEXIS 140932 at *10 (C.D. Cal. Jul. 16, 2009) (citing Minnesota Min. &
  14 Mfg. Co. v. Eco Chem, Inc., 757 F.2d 1256, 1263 (Fed. Cir. 1985) (“The transferee is
  15 not joined because its substantive rights are in question; rather, the transferee is
  16 brought into court solely because it has come to own the property in issue. The merits
  17 of the case, and the disposition of the property, are still determined vis-a-vis the
  18 originally named parties”); and Citibank v. Grupo Cupey, Inc., 382 F.3d 29, 32 (1st
  19 Cir. 2004) (“Rule 25(c) is merely a procedural device designed to facilitate the
  20 conduct of the case, and does not alter the substantive rights of the parties or the
  21 transferee,” quoting James Wm. Moore et al., Moore’s Federal Practice ¶ 25.32 (3d
  22 ed. 2004). Indeed, Rule 25(c) is a procedural device that does not typically alter the
  23 substantive rights of a party.” 2009 U.S. Dist. LEXIS 140932 at *10 (quoting Mars,
  24 Inc. v. JCM American Corp., 2007 U.S. Dist. LEXIS 17351, 2007 WL 776786, *1
  25 (D.N.J. Mar. 9, 2007)).
  26         The leading case in the Ninth Circuit discussing Rule 25(c) and its application
  27 is In re Bernal, previously referenced hereinabove. 207 F.3d at 596-597. In that case,
  28 a Chapter 7 bankruptcy debtor brought an adversary complaint against the defendant,
                                                            -7-
          BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 10 of 13 Page ID
                                 #:3617



 1 a state student aid commission that was the guarantor of the notes for the original
 2 student loan lender to the plaintiff former student. Id. Defendant failed to file an
 3 answer, and default was entered. Id. Subsequently defendant assigned the notes to
 4 appellant, which then moved to intervene and set aside the default against defendant.
 5 Id. at 597. The bankruptcy court denied the motion because appellant was not a
 6 proper party in intervention, since it had no interest in the notes at the time the
 7 complaint was filed or when the default was entered, and the bankruptcy appellate
 8 panel affirmed. Id. at 599.
 9          The Ninth Circuit affirmed the trial court’s election to deny the defendant’s
10 motion to join the proposed defendant, who was the assignee of promissory notes at
11 issue in that case. Id. at 599. The Bernal court noted that the proposed defendant
12 “[did] not even begin to explain why [. . .] its predecessor [. . .] allowed its default to
13 be taken, and that is what it would have to do were it allowed to substitute into this
14 action now that it has been assigned [the defendant’s] rights. It made no attempt to
15 show that its presence would ‘facilitate the conduct of the litigation.’” Id. (quoting
16 Wright § 1958 at 557). Thus, the Ninth Circuit held that the trial court (the
17 bankruptcy court, in that case) did not abuse its discretion in denying the motion for
18 joinder. Id. at 599.
19          As in Bernal, Labrador Defendants’ Motion fails to show that Labrador
20 Entertainment, LLC’s presence under joinder herein would facilitate this matter in
21 any way. It generally suggests that joinder would “ensure Beatbox would have
22 adequate legal recourse against the correct Labrador entity if it were to ultimately
23 prevail in this litigation—and [] spare all parties and the Court the unnecessary
24 ambiguity resulting from Beatbox’s claims as they are currently stated.” (Motion at 2-
25 3.) In essence, counsel for Labrador Defendants suggests that without joinder,
26 Beatbox somehow lacks adequate legal recourse if it prevails.
27      A searching review of relevant case law in this jurisdiction yields no results on
28 point supporting Labrador Defendants’ request for relief. Indeed, it appears this
                                                           -8-
         BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 11 of 13 Page ID
                                 #:3618



 1 District has addressed joinder requests relatively infrequently – and almost never in
 2 the context of a defendant’s motion to join an additional (rather than substitute)
 3 defendant, let alone a defendant who is already a party to the suit.
 4          Plaintiff urges this Court to consider the holding in Munoz v. PHH Mortg.
 5 Corp., 2020 U.S. Dist. LEXIS 57575 (E.D. Cal. Apr. 1, 2020), wherein the United
 6 States District Court for the Eastern District of California considered the plaintiff’s
 7 motion to join a defendant following the merger of the defendant to the existing
 8 litigation with the party proposed to be joined. See generally, Munoz, 2020 U.S. Dist.
 9 LEXIS 57575. In Munoz, the court considered whether the transfer of interest
10 between the defendant and the proposed defendant was sufficient to justify joinder
11 under Rule 25(c) and noted that such an analysis is a question of state law. 2020 U.S.
12 Dist. LEXIS 57575 at *7, citing LiButti v. United States, 178 F.3d 114, 124 (2d Cir.
13 1999) (“Successor liability [under Rule 25(c)] is a question of State law[.]”)
14          After finding that the proposed defendant was not a “mere continuation” of the
15 defendant as required by Maryland law (which it was obligated to apply under the
16 facts of that case), the court then considered the proposed joinder. See 2020 U.S. Dist.
17 LEXIS 57575 at *25. It denied the plaintiff’s motion, because it was “not convinced
18 that [the proposed defendant’s] joinder [was] necessary, as its presence would likely
19 not facilitate the conduct of litigation at [the] late stage of th[e] action.” Id.
20 Specifically, it cited the potential for discovery and briefing on the question of
21 liability, as well as “other unforeseen possibilities.” Id. Other California federal
22 district courts have noted that late joinder of a party pursuant to Rule 25(c) may be
23 denied when joinder would “require a significant investment of judicial time and
24 resources” and could “complicate and substantially lengthen” litigation. McKesson
25 Info. Sols., Inc. v. Bridge Med., Inc., 2006 U.S. Dist. LEXIS 9904, 2006 WL 658100,
26 at *3 (E.D. Cal. Mar. 13, 2006).
27        The Labrador Defendants request that the Court join Labrador Entertainment,
28 LLC as a defendant to Beatbox’s first and third causes of action because, it
                                                           -9-
         BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 12 of 13 Page ID
                                 #:3619



 1 concludes, joinder would serve “the interests of all parties and of judicial efficiency.”
 2 (Motion at 3.) Given that counsel for Labrador Entertainment, Inc. also represents
 3 Labrador Entertainment, LLC herein, the suggestion that “[o]nce the joinder occurs,
 4 the parties will be able to work towards a more thorough and complete resolution of
 5 the claims between them” is facially disingenuous. It is abundantly clear that the
 6 Labrador Defendants seek to add Labrador Entertainment, LLC as a defendant as to
 7 Counts I and III in an ill-fated attempt to eviscerate Plaintiff’s Counts V, VII and VIII
 8 by suggesting this Court entertain a legal fiction that Plaintiff somehow consented to
 9 Labrador Entertainment, Inc’s “assignment” of a breached contract to Labrador
10 Entertainment, LLC. Even if Labrador Entertainment, LLC was a successor in any
11 interest here, which it is not and could not have been under the terms of the Labrador-
12 Beatbox Agreement, the Ninth Circuit noted in Bernal, any judgment herein would be
13 binding on Labrador Entertainment, LLC if it actually was successor in a relevant
14 interest, even though it is not named. See In re Bernal, 207 F.3d at 598. For all of
15 these reasons, this court should deny the Labrador Defendants’ motion to join
16 Labrador Entertainment, LLC as to Counts I and II on the theory that Labrador
17 Entertainment, LLC is the success-in-interest to the Labrador-Beatbox Agreement
18 Contract that Labrador Entertainment, Inc. breached upon sending an infringing
19 composition and by otherwise breaching its representations and warranties and which
20 was expressly not assignable without Plaintiff’s consent.
21         WHEREFORE, Plaintiff Beatbox Music Pty, Ltd. requests that the Court enter
22 an Order:
23       a. denying Defendants Labrador Entertainment, Inc. and Labrador
24             Entertainment, LLC’s Motion for Joinder with prejudice;
25         b. ordering Labrador Defendants to pay all of Plain attorneys’ fees and
26             expenses reasonably incurred in opposing the Motion for Joinder; and
27         c. granting Plaintiff such other and further relief as the Court deems necessary
28             and just.
                                                         - 10 -
        BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
Case 2:17-cv-06108-MWF-JPR Document 178 Filed 02/01/21 Page 13 of 13 Page ID
                                 #:3620



1 DATED: February 1, 2021                            Respectfully submitted,
2
                                                     BEATBOX MUSIC PTY, LTD.
3                                                     /s/ Heather L. Blaise
4                                                    HEATHER L. BLAISE, ESQ. (SBN 261619)
                                                     123 N. Wacker Drive, Suite 250
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       BEATBOX MUSIC PTY, LTD.’S RESPONSE IN OPPOSITION TO THE MOTION FOR JOINDER OF LABRADOR ENTERTAINMENT, LLC
